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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                  8:05CR294
                              )
          v.                  )
                              )
FRANCISCO ROBLES and          )                      ORDER
LYNN C. BOWERS,               )
                              )
                Defendants.   )
______________________________)


          The Court has been advised that defendants intend to

proceed to trial in this matter.       In order to schedule the trial

at a time convenient for the parties and the Court,

          IT IS ORDERED that trial of this matter is rescheduled

for:

                Wednesday, May 24, 2006, at 9 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.     The ends of justice will be served by

continuing this case and outweigh the interests of the public and

the defendant in a speedy trial.       The additional time between

April 24, 2006, and May 24, 2006, shall be deemed excludable time
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in any computation of time under the requirement of the Speedy

Trial Act.   18 U.S.C. § 3161(h)(8)(A) & (B).

          DATED this 19th day of April, 2006.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
